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                     EXHIBIT 9
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On Fri, Apr 21, 2023 at 12:20 PM Okeke, Benjamin <okekebo@amazon.com> wrote:

Hi XXXXXXX,



Thank you for surfacing this issue. We regret any negative impact this may have caused. On 3/28
we identified a gap in our internal evaluation of USPTO records that resulted in the erroneous
rejection of some trademark applications within our Brand Registry enrollment process.
Consequently, several newly-retained attorneys were incorrectly flagged as being party to the
initial abusive behavior that caused those rejections. The issue has since been corrected. We are
currently working quickly to expedite enrollment of affected applications.



Please feel free to pass this information along to any affected clients. Please also let me know if
you’d like to talk further on this issue.



Thanks!
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